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Yale Journal of International Law

On Mon, Mar 4, 2019, 8:00 PM Char, Varun <varun.char@yale.edu> wrote;
Hi Habib,

We are wrapping up our sourcecite in the 30 min. Would you be able to swing by with the
pages that you've been working on so that we can input the changes?

Thanks,
Varun

Habib Olapade

Stanford University | Class of 2017

Yale Law School | Class of 2020

Linkedin: https://www.linkedin.com /in/habib-olapade-31637b80/

Twitter: https: //twitter.com/habib olapade

Instagram: https://www.instagram.com/liftinglegally/

On Mon, Mar 4, 2019 at 8:29 PM Habib Olapade <habibyale@gmail.com> wrote:
Hi Varun! I turned them in! I was the guy who walked in late with the golf shirt and khaki pants.
Thanks!

From: Char, Varun

Sent: Monday, March 4, 2019 8:38:39 PM

To: Habib Olapade

Cc: Laird, Jessica

Subject: Re: [YJIL] Sourcecite pages

Are you working on any other pages? The sourcecite is still going on and YJIL policy is that no
one is released until all pages are completed so that some students aren't stuck working longer
than others.

On Tue, Mar 5, 2019 at 6:32 PM Laird, Jessica <jessica.laird@yale.edu> wrote:

Hi Habib,

We just wanted to inform you that we'll need you to attend two hours of either the
sourcecite tomorrow or on March 25th to complete your requirement. Otherwise, we will be unable to
include you on the YJIL Masthead. ~

by a lol t I

Thanks,
Jessica & Varun

From: Habib Olapade <habibyale@gmail.com>

Sent: Wednesday, March 6, 2019 8:39:44 AM

To: Laird, Jessica; Char, Varun

Subject: Re: [YJIL] Sourcecite pages
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Hi Guys! : Just got this. Hey, I did 6 pages and can show you my pen markings. If y'all know
some folks who did more, I would be more than happy to attend the March 25th sourcesite.
Please advise. Thanks!

=22aeE =e Forwarded message -----==---

From: Laird, Jessica <jessica.laird@yale.edu>
Date: Wednesday, March 6, 2019

Subject: [YJIL] Sourcecite pages
To: Habib Olapade <habibyale@gmail.com>, "Char, Varun" <varun.char@yale.edu>

Hi Habib,

Thanks, we will loop you in with the Executive Editors running the March 25 sourcecite.
The requirement is time-based, so we appreciate your participation.

Best,

Jessica & Varun

Hide message history

Yale Law & Policy Review

From: Martinez, Catherine <catherine.martinez@yale.edu>

Date: Tuesday, February 5, 2019

Subject: Tuesday, 2/5 YLPR Sourcecite

To:

Cc: "Pelet del Toro, Valeria" <valeria.peletdeltoro@yale.edu>, "Jiang, Carl" <carl.jian ale.edu>,
"Rabkin Golden, Allison" <allison.rabkinaolden@yale.edu>, "Flatow, Robbie"

<robert.flatow@yale.edu>, "Lipman, Sophie" <sophie.lipman@yale.edu>, "Pershing, Abigail”
<abigail.pershing@yale.edu>

 

Hi all,

Thank you for attending your last sourcecite of the year! We're using Sharepoint for sourcecites now,
which I will explain at the beginning of the sourcecite. If you have any questions, please don't
hesitate to ask.

You can access the YLPR Sharepoint here. Use your YLS credentials to log in.
There are a couple of important points to remember:

1. Please make sure that your computer settings are such that it's clear who has made each
tracked-change and comment bubble. (In other words, your names are there, rather than
"author.")

1. PC: File a Options

2. Macs: Word 4 File a Properties a Summary a change "Author" (the third line down)
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2. The sourcecite folders are available here:
1. Harbach Article
2. Bavli & Mozer Article.

3. After you complete your assigned footnotes/accompanying text, please assist with the few
leftover footnotes at the end or with others who are still trying to complete their
assignments.

4. The sourcecite assignment sheets are available here:
1. Harbach Article
2. Bavli & Mozer Article.
5. If you are unable to find a book, please email around to see if others have the source.

6. For LE queries, please begin the LE query with "LE:" since it makes it a whole lot easier for me
to identify them via search. If you have any citation questions, don't hesitate to ask me
during the sourcecite.

For each of your sources, please make sure to check if it's been cited before! If appropriate, make
sure to cite as a supra or using the short form of a case.

Best,

Catherine

Habib Olapade

Stanford University | Class of 2017

Yale Law School | Class of 2020

Linkedin: https://www. linkedin.com/in/habib-olapade-31637b80/
Twitter: hitps://twitter,caom/habib olapacle

Instagram: hettys://www.instagram.com/liftinglecally/

Yale Journal On Regulation
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From: Barreca, Emily <emily.barreca@yale.edu>

Date: Wednesday, February 20, 2019

Subject: [JREG] Volume 36 Final Masthead

To: "Rising, Andrew" <andrew.risin ale.edu>, "Ghinaglia Socorro, Armando"
<armando.ghinaglia@yale.edu>, "Daus-Haberle, Ben" <ben.daus-haberle@yale.edu>, "Seymour,
Ben" <ben.seymour@yale.edu>, "Shultz, Blake" <blake.shultz@yale.edu>, "Stewart, Brandon"
<brandon.stewart@yale.edu>, "Chen, Brian" <brian.chen@yale.edu>, "Rianda, Cole"
<cole.rianda@yale.edu>, "Mui, Connor" <connor.mui@yale.edu>, "Phillips, Daniel”
<daniel.phillips@yale.edu>, "Klingler, Desiree" <desiree.klingler@yale.edu>, "Pickup, Ed"
<ed.picku ale.edu>, "Fisch, Abigail" <abigail.fisch@yale.edu>, "Kinkley, Adam”

<adam.kinkle ale.edu>, "Burt, Alex" <alex.burt@yale.edu>, "Hernandez, Allen"
<allen.hernandez@yale.edu>, "“ann.manov@yale.edu" <ann.manov@bulldogs.yale.edu>, "Le,
Catherine" <catherine.le@yale.edu>, "Picciau, Chiara" <chiara.picciau@yale.edu>, "Chang, Damien’
<damien.chan ale.edu>, "Ki, Daniel" <daniel.ki@yale.edu>, "Moon, David"
<david.y.moon@yale.edu>, "Shire, Emily" <emily.shire@yale.edu>, "Schwed, Eric"
<eric.schwed@yale.edu>, "Hall, Emily" <emily.hall@yale.edu>, "Yeh, Emily” <emily.veh@yale.edu>,
"Constant, Frederic” <frederic.constant@yale.edu>, "Tanner, Holden" <holden.tanner@yale.edu>,
"Reed, Jack" <jack.reed@yale.edu>, "Allely, Jake" <jake.allel ale.edu>, "Gordon, Jeff"
<jeff.gordon@yale.edu>, "Liebman, Jonathan" <jonathan.lieobman@yale.edu>, "McClure, Kelly”

<kelly.mcclure@yale.edu>, "Shapiro, Matt" <matt.shapiro@yale.edu>, "Wang, Melody”

<melody.wang@yale.edu>, "Husney, Ezra" <ezra.husney@yale.edu>, "Base, Graciela”
<graciela.base@yale.edu>, "Olapade, Habib" <habib.clapade@yale.edu>, "Lee, Jamie”

<jamie.lee@yale.edu>, "Schroeder, Jeff" <jeff.schroeder@yale.edu>, "Phillips, Jonathan"
<j.phillips@yale.edu>, "Bonilla Lopez, Jorge" <jorge.bonillalopez@yale.edu>, "Katticaran, Julu"
<julu.katticaran@yale.edu>, "Woolridge, Keith" <keith.woolridge@yale.edu>, "Khoo Chian Yian,
Kenneth” <kenneth.khoo@yale.edu>, "Mathias.Walch@uibk.ac.at" <Mathias.Walch@uibk.ac.at>,
"Pelle, Michael" <michael.pelle@yale.edu>, "Avi-Yonah, Michael" <michael.avi-yonah@yale.edu>,
"Bushinski, Mik" <mik.bushinski@yale.edu>, "Alacha, Neil" <neil.alacha@yale.edu>, "Karageorgiou,
Olympia" <olympia.karageorgiou@yale.edu>, "Godwin, Samantha” <samantha.godwin@yale.edu>,
"Perrygo, Scott" <scott.perrygo@yale.edu>, "Foley, Sean" <s.fole ale.edu>, "Tanious, Sherry"
<sherry.tanious@yale.edu>, "Bouadi, Sumaya” <sumaya.bouadi@yale.edu>, "Wang, Susan"
<susan.wang.sxw2@yale.edu>, "Leys, Thomas” <thomas.leys@yale.edu>, "Lustbader, Zach"
<zach.lustbader@yale.edu>, “Loughlin, Michael” <michael.loughlin@yale.edu>, "Slomovics, Motti"

 

 

 

 

 

<paul.healy@yale.edu>, "Doan, Quint” <quint.doan@yale.edu>, "Begleiter, Raquel"
<raquel.begleiter@yale.edu>, "Noonan, Ray” <raymond.noonan@yale.edu>, "Reidy, Pat”

 

 

Simon" <simon.zhen@yale.edu>, "Ariwoola, Solomon" <solomon.ariwoola@yale.edu>

Cc: "Terry, Leigh” <leigh.terry@yale.edu >

Dear JREG Editors,
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We're pleased to share with you our final masthead for Volume 36, updated to reflect your
membership. Thank you for all your hard work—JREG Volume 36 couldn’t have been a success
without you!

Yours in regulation,

Emily & Leigh
Yale Journal of Law and Humanities

From: Cai, Evelyn <evelyn.cai@yale.edu>

Date: Friday, February 8, 2019

Subject: YJLH Slating Reminder

To: Josh Blecher-Cohen <josh.blechercohen@gmail.com>

Happy Friday!

Thank you for all of your hard work sourceciting last week. The Board thinks that you did a fantastic
job and we would love for you to take on a larger role with the journal next year. If you are
interested, please send Josh and I your slating applications (i.e, resume and paragraph of interest)
by tonight.

All best,

Evelyn

Habib Olapade

Stanford University | Class of 2017

Yale Law School | Class of 2020

Linkedin: https://www.linkedin.com/in/habib-olapade-31637b80/

Twitter: https://twitter.com/habib olapade
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Yale Journal of Law and Technology

On Mon, Nov 26, 2018 at 6:02 PM Shao, Shili <shili.shao@yale.edu> wrote:

Hi all,
Thanks for signing up for the Thursday sourcecite! We will meet in SLB 108 at 6pmon Thursday and
dinner will be served. Attached is the article we will be sourceciting for (please do not circulate the

article as it is still unpublished) and a list of sources to be used at the sourcecite. Please remember to
bring a bluebook with you (the library may have a few that you can borrow).

Look forward to seeing you all on Thursday!

Best,
Shili
Yale Journal of Health Law Policy & Ethics

From: Pan, Adam <adam.pan@yale.edu>
Date: Friday, November 30, 2018

Subject: Re: [YJHPLE] Sourcecite Sign-up!
To: "yjhple@yale.edu" <yjhple@yale.edu>

Hi everyone,

I'm down with the flu (CRISPR flu cure when) so, unfortunately, today's sourcecite will be postponed
to Tuesday, December 4, from 6-9 PM in Baker 118. Apologies for holding a sourcecite on the last day of
class!

Best,

Adam
